Case 4:15-cv-05115-RMP ECFNo.1_ filed 11/23/15 PagelD.29 Page 1 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

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VS. CIVIL RIGHTS COMPLAINT
BY A PRISONER UNDER 42

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(Bho de ae i). JO) Doe t+)
(Names of ALL Defendants)

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I. Previous Lawsuits

A. Have you brought any other lawsuits in any federal court in the United States while a
prisoner? MQ YES O NO

B. If your answer to A is yes, how many? 4 Describe the lawsuit in the space
below. (If there is more than one lawsuit, describe the additional lawsuits on another

piece of paper using the same outline.)

1. Parties to this previous lawsuit:

Plaintiff: Reyes bi Ss2 wade (nie S we loebocd Th > o Courtin
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Defendants: hak Chatie” ind L etal.
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2. Court (give name of District); _Wiestecn chet ct
3. Docket Number: Aw -C}2- 1/¢- Rai —1pD
igned: shwest” C |
4. Name of judge to whom case was assigned: shes? Dercluse (bbs wre & ged Tedge\
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5. Disposition (For example: Was the case dismissed as frivolous or for aalume to state a
claim? Was it appealed? Is it still pending? ):

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6. Approximate date of filing lawsuit: 4alera@ ve at dite aA

* ‘
7. Approximate date of disposition: Agel DIZ cr 8 get

Place of Present Confinement:__4424 Gia rz Liz Wicd i Ue

”

A. Is there a prisoner grievance procedure available at this institution? ‘YES ONO
fs *

B. Have you filed any grievances concerning the facts relating to this complaint?
MYES ONO
If your answer is NO, explain why not:

 

 

C. Is the grievance process completed? RLYES O1NO

D, Have you sought other informal or formal relief from the proper administrative
officials regarding the acts alleged in this complaint? MYES ONO

If your answer is NO, explain why not:

 

 

Parties to this Complaint

CPD .
A. Name of Plaintiff; —< “Aone na for Feativice = Inmate No.: MAIL

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Address; Zt op) LUZ AH. 2th Ace whl Leth) A LG F2

(In Item B below, place the full name of the defendant, his/her official position, and
his/her place of employment. Use Item C for the names, positions and places of
employment of any additional defendants. Attach additional sheets if necessary.)

A
B. Defendant: De Mbink. Official Position: C4arifl

I< D
Place of Employment: _/U. Sf
Case 4:15-cv-05115-RMP ECFNo.1_ filed 11/23/15 PagelD.31 Page 3 of 16

C. Additional Defendants (NOTE: These Defendants,must be listed in the caption of the
Complaint.): Ec LS } Chanle< “Darn ne (crim | srs

 

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IV Statement of Claim
(State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including dates, places and other persons involved. Do not give any legal

arguments or cite any cases or statutes. If you allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach additional sheets if necessary)

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V. Relief

(State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases or statutes.)

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( _<-Signature of Plaintiff)

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